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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,                              Case No. 1:21-cv-06546

                        Plaintiff /                   The Honorable John R. Blakey
                        Counterclaim-Defendant,

         v.

 VINTAGE BRAND, LLC,

                        Defendant /
                        Counterclaim-Plaintiff.


                         DECLARATION OF CHAD HARTVIGSON

       I, Chad Hartvigson, declare and state the following:

       1.       I am a cofounder of Vintage Brand, LLC (“Vintage Brand”), and I have personal

knowledge of the facts stated herein.

       2.       Vintage Brand operates an online retail store through which it offers customers

apparel, wall art, coasters, and other blank merchandise that can be customized with historic artistic

images reproduced from vintage sports memorabilia.

       3.       Vintage Brand acquired historic, public domain University of Illinois memorabilia

from collectors, including decals, matchbooks and buttons, and offered digitalized images drawn

from those objects for decorative printing on apparel and other goods.

       4.       Attached as Exhibit A are true and accurate reproductions of webpages from the

Vintage Brand website, including the background and disclaimers contained therein. These pages

were produced to Plaintiff with the following bates numbers: VINTAGE_ILLINOIS_000119–21.

       I declare under penalty of perjury that the foregoing is true and correct.




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